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8                              UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER FOLLOWING STATUS
13     v.                                                   CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                           Respondents-Defendants.
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18           A status conference was held on April 17, 2020. After consulting with counsel and
19     being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    The parties shall meet and confer on whether government representatives from HHS
21     and DHS should be tasked with spearheading the efforts to resolve communication and
22     information sharing protocols between agencies and departments and reporting to the Court
23     on those efforts.
24     2.    The next Joint Status Report shall be filed on or before 3:00 p.m. on May 27, 2020.
25     2.    A further status conference shall be held on May 29, 2020, at 1:00 p.m. The dial-
26     in number for any counsel who wish to listen in only and members of the news media is as
27     follows.
28           a.     Dial the toll free number: 877-411-9748;

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                                                                                18cv0428 DMS (MDD)
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1            b.       Enter the Access Code: 6246317 (Participants will be put on hold until the
2                     Court activates the conference call);
3            c.       Enter the Participant Security Code 05290428 and Press # (The security code
4                     will be confirmed);
5            d.       Once the Security Code is confirmed, participants will be prompted to Press
6                     1 to join the conference or Press 2 to re-enter the Security Code.
7      As above, members of the general public may attend in person. All persons dialing in to
8      the conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
9      proceedings.
10           Counsel for the Ms. L. Class shall provide notice of this order to counsel for Plaintiffs
11     in any of the related cases that wish to appear.
12     DATED: April 21, 2020                                  ______________________________
                                                              DANA M. SABRAW
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                                                              United States District Judge
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